   2:18-mn-02873-RMG           Date Filed 03/30/21     Entry Number 1463         Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION


      IN RE: AQUEOUS FILM-FORMING                         MDL No. 2:18-mn-2873-RMG
      FOAMS PRODUCTS LIABILITY
      LITIGATION                                        CASE MANAGEMENT ORDER
                                                                NO. 13.A

                                                      This Document Relates to All Actions

                  RULE 12(B)(1) AND 12(B)(2) MOTIONS FOR
           WATER PROVIDER BELLWETHER DISCOVERY POOL CASES

        Pursuant to Paragraph G of Case Management Order (“CMO”) 13, motions to dismiss
under Rules 12(b)(1) or 12(b)(2) of the Federal Rule of Civil Procedure for any of the Water
Provider Bellwether Discovery Pool Case were to be filed within 21 days of the case being
selected. (Dkt. No. 1049.)

       On February 26, 2021, pursuant to the Joint Submission Regarding Water Provider
Bellwether Discovery Pool Cases (“Joint Submission”), the parties selected 10 Water Provider
Bellwether Discovery Pool Cases. (Dkt. No. 1222.) In that Joint Submission, the parties set forth
an agreement as to the preservation of defenses under Rules 12(b)(1) and 12(b)(2) and the deferral
of motions relating to those defenses. The parties asked that the Court memorialize the parties’
agreement to preserve those defenses in a separate CMO.

       Accordingly:

       1. “Agreeing Parties” shall mean (i) the PEC; (ii) each of the plaintiffs named in the 10
          Water Provider Bellwether Discovery Pool Cases selected in the Joint Submission and
          (iii) the following defendants (collectively, the “Agreeing Defendants”):

                                     3M Company
                                     AGC Chemicals Americas, Inc.
                                     Amerex Corp.
                                     Arkema Inc.
                                     BASF Corporation
                                     Buckeye Fire Equipment Co.
                                     Carrier Global Corporation
                                     ChemDesign Products, Inc.
                                     Chemguard, Inc.
                                     The Chemours Co.
                                     The Chemours Co., FC, LLC
                                     Chubb Fire, Ltd.
2:18-mn-02873-RMG        Date Filed 03/30/21      Entry Number 1463        Page 2 of 3




                                Deepwater Chemicals, Inc.
                                E. I. duPont De Nemours & Co.
                                Kidde PLC, Inc.
                                Kidde-Fenwal, Inc.
                                Nation Ford Chemical Co.
                                National Foam, Inc.
                                Raytheon Technologies Corp.
                                Tyco Fire Products, LP
                                United Technologies Corp.
                                UTC Fire & Security Americas Corp., Inc.

  2. The Agreeing Defendants need not (and have represented that they will not) file—
     within the timeframe set forth in Paragraph G of CMO 13—motions to dismiss pursuant
     to Rules 12(b)(1) and/or 12(b)(2) in any of the Water Provider Bellwether Discovery
     Pool Cases listed in the Joint Submission and in which they are named as defendants.

  3. Any defenses under Rules 12(b)(1) and/or 12(b)(2) that the Agreeing Defendants may
     have in any of the Water Provider Bellwether Discovery Pool Cases are expressly
     preserved and not waived, and the Agreeing Defendants may bring such motions at a
     later date. To the extent such motions are sought, Co-Lead Counsel for Plaintiffs and
     Co-Lead Counsel for Defendants will mutually agree on a date for the filing of such
     motions, and the date will be presented to the Court at that time.

  4. Plaintiffs in any of the Water Provider Bellwether Discovery Pool Cases may meet
     and confer with the Agreeing Defendants regarding jurisdictional discovery during
     Tier One Core Discovery and/or following the filing, if any, of such a motion by one
     of the Agreeing Defendants prior to or during Tier Two proceedings.

  5. If any of the Water Provider Bellwether Discovery Pool Cases is dismissed for lack of
     jurisdiction, the plaintiff(s) in that case may re-file the Complaint in a court of
     competent jurisdiction and the date of the filing of the original Complaint or the date
     a particular Agreeing Defendant was added to the Complaint, as applicable, will
     apply for purposes of timeliness before that court.

  AND IT IS SO ORDERED.




                                          2
2:18-mn-02873-RMG       Date Filed 03/30/21   Entry Number 1463      Page 3 of 3




                                                 s/ Richard Mark Gergel
                                                 Richard Mark Gergel
                                                 United States District Judge

  March 30, 2021
  Charleston, South Carolina




                                      3
